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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 1:22-cv-22483-GAYLES/TORRES


  EXPRESS FREIGHT INTERNATIONAL et al.,

         Plaintiffs,

  v.

  HINO MOTORS LTD., et al.,

         Defendants.
                                                    /

   UNOPPOSED MOTION BY DEFENDANTS HINO MOTORS MANUFACTURING
    U.S.A., INC. AND HINO MOTORS SALES U.S.A., INC. FOR LEAVE TO FILE
  MOTION TO STAY DISCOVERY AND SUPPORTING DECLARATION UNDER SEAL

         Defendants Hino Motors Manufacturing U.S.A., Inc. and Hino Motors Sales U.S.A., Inc.

  (collectively, “Defendants”), pursuant to Local Rule 5.4(b), move for leave to file under seal (1) an

  unredacted copy of their Motion to Stay Discovery, and (2) the Declaration of Andrew Soukup in

  Support of Defendants’ Motion to Stay Discovery. Neither Plaintiffs nor Defendants Hino Motors,

  Ltd. or Toyota Motor Corporation oppose the relief sought in this motion. In support, Defendants

  state as follows:

         1.      On November 21, 2022, Plaintiffs served their first set of document requests in this

  case. The requests seek, among other things, all documents Defendants have produced, or will

  produce, to the government in connection with an ongoing government investigation into

  Defendants’ engines certified to comply with U.S. emissions standards.

         2.      Defendants are cooperating with the ongoing investigation, the scope, nature, and

  status of which are confidential.
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         3.      On December 15, 2022, Defendants filed a Motion to Stay Discovery. The Motion

  requests that the Court briefly stay discovery against Defendants until the Court rules on

  Defendants’ Motion to Dismiss (Dkt. 68).

         4.      In support of their Motion to Stay Discovery, Defendants attached Exhibit 2, a

  declaration from Andrew Soukup, a partner with the law firm of Covington & Burling LLP, which

  represents Defendants in this case.

         5.      The unredacted Motion to Stay Discovery and the supporting declaration reveal

  confidential details concerning the scope and nature of the government’s ongoing investigation.

         6.      Defendants therefore request leave to file under seal the unredacted Motion to Stay

  Discovery and the supporting declaration. Defendants further request that the unredacted Motion

  to Stay Discovery and the supporting declaration remain sealed until such time as the investigation

  is resolved and disclosure is authorized by the relevant agencies.

                                    MEMORANDUM OF LAW

         A showing of “good cause” is sufficient to seal a filing. Romero v. Drummond Co., Inc.,

  480 F.3d 1234, 1245–46 (11th Cir. 2007). Whether good cause exists is “decided by the nature

  and character of the information in question.” Chicago Trib. Co. v. Bridgestone/Firestone, Inc.,

  263 F.3d 1304, 1315 (11th Cir. 2001). In deciding whether to seal a filing, courts consider

  “whether allowing access would impair court functions or harm legitimate privacy interests, the

  degree of and likelihood of injury if made public, the reliability of the information, whether there

  will be an opportunity to respond to the information, whether the information concerns public

  officials or public concerns, and the availability of a less onerous alternative to sealing the

  documents.” Romero, 480 F.3d at 1246. In various contexts, courts have recognized that prejudice

  to an ongoing government investigation is a sufficient reason to shield filings from public view.




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  See United States v. Valenti, 987 F.2d 708, 714–15 (11th Cir. 1993); United States v. Amodeo, 71

  F.3d 1044, 1050 (2d Cir. 1995); Brunson v. Lambert Firm PLC, 757 F. App’x 563, 566 (9th Cir.

  2018); United States ex rel. Denomme v. Powell, 2001 WL 37124485, at *2 (S.D. Ala. Oct. 31,

  2001); Flagg ex rel. Bond v. City of Detroit, 268 F.R.D. 279, 294–95 (E.D. Mich. 2010); United

  States ex rel. O’Keefe v. McDonnell Douglas Corp., 902 F. Supp. 189, 191–92 (E.D. Mo. 1995).

         This Court should do the same here. The redacted portions of the Motion to Stay Discovery

  and the entire supporting declaration provide details about an ongoing confidential government

  investigation. Public disclosure of either document may impact the government’s ability to

  conduct its investigation, as both documents reveal substantive details about the scope of the

  investigation. See Denomme, 2001 WL 37124485, at *2 (sealing briefs because they revealed the

  government’s “strategy and thought processes” concerning its investigation). Redacting sensitive

  information in the Motion to Stay Discovery is viable, but details about the investigation appear

  throughout the entire declaration. For these reasons, good cause exists to permit Defendants to

  file under seal the unredacted Motion to Stay Discovery and the supporting declaration.

         WHEREFORE, Defendants respectfully request that the Court grant Defendants leave to

  file the unredacted Motion to Stay Discovery and the Soukup Declaration under seal.

                      CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for Defendants has conferred

  with counsel for Plaintiffs, Hino Motors, Ltd., and Toyota Motor Corporation in a good-faith effort

  to resolve by agreement the issues set forth in this motion. No party opposes the relief requested

  by this motion.




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  DATED: December 15, 2022                     Respectfully submitted,

                                                /s/ Jordan S. Cohen
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                                               Attorneys for Defendants
                                               Hino Motors Manufacturing U.S.A., Inc.
                                               and Hino Motors Sales U.S.A., Inc.



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 15, 2022, a true and correct copy of the foregoing

  was furnished by electronic filing with the Clerk of the Court via CM/ECF, which will send notice

  of electronic filling to all counsel of record.

                                                     /s/ Jordan S. Cohen
                                                    Jordan S. Cohen




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